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Clerk Una O'Boyle September 25, 2018 “AN 8: 39
United States Bankruptcy Court Oi Panning
Fr Ly
POEL RRR
In regard to Case # 19-50322 and 17-12560, we are filing a motion that
these cases be rescinded.

The affidavit states, that within ninety days prior to the petition date, we
received transfers of $51,016.32.
We are being falsely accused because the aforementioned transfers occurred on
May 31,2017, as noted on our Cancellation of Promissory Note and Loan
Agreement. The stated ninety day transfer period is September 4, 2017 to
December 4,2017. You will find that our transfers occurred well before this period.

Thank you for your attention in this matter,

Sincerely,

Defendants

Toomas Heinmets

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Pamela Heinmets

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Please see attachments
 

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JN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

In re: Chapter 11
WOODBRIDGE GROUP OF COMPANIES, LLC, Case No. 17-12560 (BLS)
et al.;}
(Jointly Administered)
Remaining Debtors.

 

MICHAEL GOLDBERG, as Liquidating Trustee of the Woodbridge
Liquidation Trust, successor in interest to the estates of
WOODBRIDGE GROUP OF COMPANIES, LLC, et al.,

Plaintiff,
vs. Adversary Proceeding

Case No. 19-50322 (BLS)
TOOMAS HEINMETS; PAMELA HEINMETS,

 

Defendants.

SUMMONS AND NOTICE OF PRETRIAL CONFERENCE IN AN ADVERSARY PROCEEDING

YOU ARE SUMMONED and required to file a motion or answer to the complaint which is attached to this summons with the
clerk of the bankruptcy court within 30 days after the date of issuance of this summons, except that the United States and its ©
offices and agencies shall file a motion or answer to the complaint within 35 days.

 

Address of Clerk: United States Bankruptcy Court
824 N Market Street, 3rd Floor
Wilmington, DE 19801

 

 

 

At the same time, you must also serve a copy-of the motion or answer upon the Plaintiff's attorney. Name and address of
Plaintiff's attorneys:

 

PACHULSKI STANG ZIEHL & JONES LLP
Andrew W. Caine
Bradford J. Sandler
Colin R. Robinson
919 North Market Street, 17th Floor
Wilmington, DE 19899-8705 (Courier 19801)
Telephone: (302) 652-4100

 

 

 

 

If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.
YOU ARE NOTIFIED that a pretrial conference of the proceeding commenced by the filing of the complaint will be held at

 

 

the following time and place.
‘Address: United States Bankruptcy Court Courtroom No. 1
824 N Market Street, 6th Floor
Wilmington, DE 19801 Date and Time: October 23, 2019 @ 9:30 a.m. (ET)

 

    
 
 

 

BPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO
NT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT MAY BE TAKEN AGAINST
f DEMANDED IN THE COMPLAINT.

gerict of Delaware /s/ Una O’Boyle
Date: Septembe Clerk of the Bankruptcy Court

 

! The Remaining Debtors and the last four digits of their respective federal tax identification numbers are as follows: Woodbridge Group of Companies, LLC

(3603) and Woodbridge Mortgage Investment Fund 1, LLC (0172). The Remaining Debtors’ mailing address is 14140 Ventura Boulevard #302, Sherman
Oaks, California 91423.

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early Investors; in the absence of new investment, the house of cards would fall (as it eventually
did). At the same time, each investment created an obligation to return to the defrauded Investor
100% of the investment, such that each new investment increased the Debtors’ liabilities and
ultimately left them unable to satisfy their aggregate liabilities.

15. Defendant invested with the Debtors through the purchase of notes and/or units
and received principal and interest payments from the Debtors with respect to the investment.
Defendant invested in notes and/or units with the Debtors and was paid in full for all investments

prior to the Petition Date, including interest, and is thus a “Net Winner.”

 

16. During the ninety days prior to the Petition Date, the Debtors made payments to
or for the benefit of the Defendant, including those identified on Exhibit A attached hereto
(collectively, the “Ninety Day Transfers”). Exhibit A sets forth the details of each of the
Transfers, including the identity of the transferor Debtor, check or payment number, payment
date, clear date, and payment amount. The aggregate amount of the Ninety Day Transfers is not
less than $51,016.32.

17. Although it is possible that some of the Ninety Day Transfers might be subject in
whole or in part to defenses under 11 U.S.C. § 547(c), Defendant bears the burden of proof
pursuant to 11 U.S.C. § 547(g) to establish any defense(s) under 11 U.S.C. § 547(c).

18. During the four years prior to the Petition Date, the Debtors made transfers to
Defendant for interest on Defendant’s investments with the Debtors in an amount not less than
$2,909.66 (the “Net Winnings” or “Fraudulent Transfers”). A list identifying the Fraudulent

Transfers is attached hereto as Exhibit B and is incorporated herein by reference.

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Property ID : Ashley Ridge Road -
ECORDS| Hidden Hills, CA
IR RE rh Principal : $30, .
FOR YOUR RELL sae

CANCELLATION OF PROMISSORY NOTE AND LOAN AGREEMENT

This Cancellation of Promissory Note and Loan Agreement (this “A sreement”) is entered into as of this
31% day of May, 2017, by and among WOODBRIDGE MORTGAGE INVESTMENT FUND 3A, LLC, a
Delaware limited liability company having an address of 14225 Ventura Boulevard, Suite 100, Sherman
Oaks, California 91423, its successors and assigns (herein, “Borrower”), and TOOMAS HEINMETS AND
PAMELA HEINMETS, individuals having an address of 3038 Yoder Drive, The Villages, Florida 32163
(herein together, "Lender").

RECITALS

WHEREAS, Borrower executed that certain Promissory Note dated August 29, 2016, in the original principal
amount of Thirty Thousand and 00/100 Dollars ($30,000.00) payable to the order of Lender (the “Note”);

WHEREAS, in connection with the execution of the Note, Borrower and Lender entered into that certain
Loan Agreement dated August 29, 2016;

WHEREAS, Borrower has fully paid, performed, and satisfied its obligation under the Note and the Loan
Agreement;

WHEREAS, the parties hereto agree that there are no obligations outstanding among the parties whatsoever
relating to the Note and the Loan Agreement; and

NOW, THEREFORE, based on the foregoing under the conditions stated below, the parties hereto desire to
cancel the Note and to cancel the Loan Agreement.

AGREEMENT

The Note and the Loan Agreement are hereby terminated and canceled and are of no further force and
effect. Lender hereby agrees promptly to return the original Note to Borrower.

IN WITNESS WHEREOF, the undersigned have executed this Agreement as of the date first written above.

LENDER: BORROWER:

WOODBRIDGE MORTGAG
INVES Vi Li BE ae ay Pamndash .

     

TOOMAS HEINMETS

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PAMELA HEINMETS

 

 

 
CROSS RECEIPT AND DIRECTION LETTER

ULRUSo REVO eee

May 31, 2017
$50,000.00 Sherman Oaks, California

TOOMAS HEINMETS AND PAMELA HEINMETS (together, “Heinmets’) hereby
acknowledge and accept receipt from WOODBRIDGE MORTGAGE INVESTMENT FUND 3A, LLC
(“Woodbridge”) of Thirty Thousand and 00/100 Dollars ($30,000.00) representing a payment issued
by Woodbridge in favor of Heinmets in full satisfaction of the principal balance under that certain
Promissory Note dated August 29, 2016 in the original principal amount of Thirty Thousand and
00/100 Dollars ($30,000.00), and direct that the same funds be distributed as described below.

Dated: May 31, 2017 Zoomas) amb
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TOOMAS HEINMETS

PAMELA HEINMETS

 

WOODBRIDGE MORTGAGE INVESTMENT FUND 4, LLC hereby acknowledges and
accepts receipt from Heinmets of the same Thirty Thousand and 00/100 Dollars ($30,000.00)
described above plus an additional Twenty Thousand and 00/100 Dollars ($20,000.00) for a total
amount of Fifty Thousand and 00/100 Dollars ($50,000.00), in the form of a mezzanine loan position
secured by a pledge by H75 Pacific Heights Holding Company, LLC of its entire and controlling
membership interest in Pacific Heights Investments, LLC, an entity which owns property located at
4312 and 1337 Ridgecrest Road, Beverly Hills, California 90210, as contemplated in that certain
Promissory Note and that certain Loan Agreement of even date herewith.

Dated: May 31, 2017

 

 

its Authorized Representative
